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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Delaware
)
QORVO, INC.
)
Plaintiff(s) )
v. Civil Action No.
AKOUSTIS TECHNOLOGIES, INC. and
AKOUSTIS, INC. )
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Akoustis. Inc

c/o Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Jack B. Blumenfeld

Morris, Nichols, Arsht & Tunnell LLP
1201 North Market Street

P.O. Box 1347

Wilmington, DE 19899

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

/s/ John A. Cerino
Date:

Signature of Clerk or Deputy Clerk

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ivil Acti .
Civil Action No. 41 cy-01417-UNA

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I)

This summons for (name of individual and title, if any) AKOUSTIS, INC.

was received by me on (date) 10/5/2021

C1 I personally served the summons on the individual at (place)

On (date) , or

© {left the summons at the individual's residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual's last known address; or
I served the summons on (name of individual)  LYNANNE GARES (managing agent) , who is

designated by law to accept service of process on behalf of (name of organization) AKOUSTIS, INC.

C/O CORPORATION SERVICE CO, 251 LITTLE FALLS DR. WILMINGTON, DE 19808 OD (date) 10/5/2021

O I returned the summons unexecuted because

1 Other (specify):

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

u™

Date: 10/5/2021

Server's signature

KEVIN 8. DUNN

Printed name and title

BRANDYWINE PROCESS SERVERS, LTD.
PO BOX 1360
WILMINGTON, DE 19899

Server's address

Additional information regarding attempted service, etc:

SERVED: Summons, Complaint, exhibits A-B, Civil Cover Sheet, Disclosure
Statement and Report to PTO

